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13
                                      UNITED STATES DISTRICT COURT
14
                                   NORTHERN DISTRICT OF CALIFORNIA
15
                                          SAN FRANCISCO DIVISION
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17   UNITED STATES OF AMERICA,                        ) Case No. 3:22-cr-426-JSC
                                                      )
18           Plaintiff,                               ) STIPULATION AND PROTECTIVE ORDER
19                                                    ) [PROPOSED]
        v.                                            )
20                                                    )
     DAVID WAYNE DEPAPE,                              )
21                                                    )
             Defendant.                               )
22                                                    )
23

24           With the agreement of the parties, the Court enters the following Protective Order:

25           Defendant is charged with violations of 18 U.S.C. § 1201(d), Attempted Kidnapping of a Federal

26 Officer or Employee, and 18 U.S.C. § 115(a)(1)(A), Assault of an Immediate Family Member of a

27 Federal Official. Upon receipt of a discovery request, the United States will produce documents and

28 other materials pertaining to the defendant and the charged offenses to defense counsel. The discovery
     STIPULATION AND PROTECTIVE ORDER                                                                       1
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 1 to be provided includes documents or other materials falling into one or more of the following categories

 2 (collectively, “Protected Information”):

 3          1. Personal Identifying Information of any individual (other than his or her name), including

 4              any person’s date of birth, social security number, residence address, telephone numbers,

 5              email addresses, driver’s license number, names of persons who are minors, or criminal

 6              histories (“Personal Identifying Information”);

 7          2. Financial Identifying Information of any individual or business, including bank account

 8              numbers, credit or debit card numbers, account passwords, and taxpayer identification

 9              numbers (“Financial Identifying Information”); and

10          3. Medical records or other patient information of any individual covered by the Health

11              Insurance Portability and Accountability Act of 1996 (HIPAA) (“Medical Information”).

12          The United States will identify discovery materials as Protected Information by marking such

13 materials “CONFIDENTIAL—SUBJECT TO PROTECTIVE ORDER” or by providing written notice

14 identifying discovery materials as Protected Information. The government shall exercise reasonable

15 care in determining which discovery materials should be designated as Protected Information in order to

16 avoid the over-designation of discovery materials as Protected Information.

17          To ensure that Protected Information is not subject to unauthorized disclosure or misuse,

18          IT IS HEREBY ORDERED that defense counsel, their investigators, assistants, employees,

19 and independent contractors (collectively, “the Defense Team”) may review with the defendant all

20 discovery material produced by the government, but shall not provide a defendant with copies of, or

21 permit defendant to make copies of, or have unsupervised access to any discovery material produced by

22 the government that contains Protected Information, unless the Protected Information has first been

23 entirely redacted from the discovery materials. The government and defense counsel are ordered to

24 work together to ensure that these materials are protected, but that defendant has as much access to the

25 materials as can be provided consistent with this Court’s order. Discovery material that clearly pertains

26 to a specific defendant and does not contain Protected Information regarding any other person (e.g.,

27 defendant’s own bank records, telephone records, and business records) may be provided to that

28 defendant unredacted.
     STIPULATION AND PROTECTIVE ORDER                                                                          2
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 1          The Defense Team may show witnesses Protected Information in the course of preparing a

 2 defense for trial or any related proceedings in this case, but only if (i) the witness, by reason of their

 3 participation in the underlying events or conduct, would have seen or had reason to know such

 4 information, or (ii) it is otherwise relevant to the defense of the case that the Defense Team discuss with

 5 or show the witness Protected Information. Witnesses may only view Protected Information in the

 6 presence of the Defense Team. No witness or potential witness may retain copies of discovery material

 7 that contains Protected Information after his or her review of those materials with the Defense Team is

 8 complete.

 9          Defense counsel may also provide unredacted copies of Protected Information to any experts

10 retained to assist with the preparation of the defense in the captioned case. The defendant, all members

11 of the Defense Team, and any experts who receive Protected Information under this Order shall be

12 provided a copy of this Order along with those materials and shall sign and date the order reflecting their

13 agreement to be bound by it.

14          The Defense Team shall maintain Protected Information safely and securely, and shall exercise

15 reasonable care in ensuring the confidentiality of those materials by not divulging the contents or

16 permitting anyone to see Protected Information except as set forth in this Protective Order.

17          The materials provided pursuant to this protective order may only be used for the specific

18 purpose of preparing or presenting a defense in this matter unless specifically authorized by the Court.
19          This Order shall also apply to any copies made of any materials covered by this Order.

20          IT IS FURTHER ORDERED that if a party files a pleading that contains or attaches Protected

21 Information subject to this Order, the Protected Information must be filed under seal (accompanied by a

22 request to file under seal) and redacted from the public filing, unless otherwise ordered by the Court.

23          IT IS FURTHER ORDERED that after any judgment or disposition has become final and there

24 are no pending proceedings, challenges, appeals, or habeas motions in the case, counsel for defendant

25 shall either destroy discovery materials containing Protected Information (including any copies) within

26 30 days if the defendant consents to such destruction, or retain the Protected Information and ensure that

27 the Protected Information will continue being kept under the conditions specified in this Order. After

28 the statutory period for filing a motion under 28 U.S.C. § 2255 has expired, the United States is free to
     STIPULATION AND PROTECTIVE ORDER                                                                           3
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 1 destroy documents and materials subject to this Order. If defendant is represented by counsel and files a

 2 motion pursuant to 28 U.S.C. § 2255, the United States will provide counsel with the documents and

 3 materials subject to this Protective Order under the terms of this Order.

 4          This stipulation is without prejudice to either party applying to the Court to modify the terms of

 5 any protective order. This Court shall retain jurisdiction to modify this Order upon motion of either

 6 party even after the conclusion of district court proceedings in this case.

 7

 8     IT IS SO STIPULATED.                                  STEPHANIE M. HINDS
                                                             United States Attorney
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10
       Dated: November 16, 2022                              __/s__________________________________
11
                                                             LAURA VARTAIN HORN
12                                                           Assistant United States Attorney
                                                             EDWARD CHANG
13                                                           Special Assistant United States Attorney

14

15                                                           ___/s_________________________________
                                                             ANGELA CHUANG
16                                                           ASSISTANT FEDERAL PUBLIC DEFENDER
17                                                           Counsel for Defendant

18
19     IT IS SO ORDERED.
20

21     Dated:                                                HON. JACQUELINE SCOTT CORLEY
                                                             United States District Judge
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     STIPULATION AND PROTECTIVE ORDER                                                                            4
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 1         By signing below, I acknowledge that I have been provided and have reviewed a copy of

 2 this Order and hereby agree to be bound by its terms:

 3

 4              SIGNATURE                              DATE

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     STIPULATION AND PROTECTIVE ORDER                                                              5
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